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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 17-20608-CIV-JAL

  ARWIN NICOLAS ZAPATA CARRERO and )
  all others similarly situated under 29 U.S.C. )
  216(b),                                       )
                                                )
                    Plaintiffs,                 )
                                                )
          vs.
                                                )
                                                )
  SANABI INVESTMENTS LLC d/b/a                  )
  OSCAR’S MOVING & STORAGE,                     )
  SAADY BIJANI a/k/a SANDY BIJANI,              )
  HANIN PRIETO,                                 )
                                                )
                   Defendants.                  )
  _____________________________________ )


   PLAINTIFF’S DISCLOSURES AND TRIAL WITNESS LIST IN COMPLIANCE WITH
                   THE COURT’S SCHEDULING ORDER [DE97]

         Now comes the Plaintiff, through the undersigned, and makes the following Disclosures

  pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, Local Rule 16.1B, and the

  Court’s Scheduling Order [DE97].

                                          General Statement

         As Plaintiff continues to obtain further information and documents through discovery and

  trial preparation, Plaintiff reserves the right to supplement and/or amend these disclosures as

  necessary and appropriate. The following includes witnesses, all of which Plaintiff may call to

  trial, and Plaintiff reserves the right to supplement as discovery proceeds.

  30(b)(6) Corporate Representative of SANABI INVESTMENTS LLC d/b/a OSCAR’S
  MOVING & STORAGE. c/o Defense Counsel. Believed to have knowledge regarding the
  allegations in the most recent Complaint. Believed to also have knowledge regarding Plaintiffs’
  duties, pay, and hours, along with liability issues regarding the wage count.



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  SAADY BIJANI. c/o Defense Counsel. Believed to have knowledge regarding the allegations in
  the most recent Complaint. Believed to also have knowledge regarding Plaintiffs’ duties, pay,
  and hours, along with liability issues regarding the wage count.

  HANIN PRIETO. c/o Defense Counsel. Believed to have knowledge regarding the allegations in
  the most recent Complaint. Believed to also have knowledge regarding Plaintiffs’ duties, pay,
  and hours, along with liability issues regarding the wage count.

  Susana Bijani. 11255 NW 77th Terr., Miami, FL 33178. Believed to have knowledge regarding
  liability issues.

  Huber Polanco. (305) 497-0165. 8701 SW 141 Street, Apt. F6, Pamleto Bay, FL 33176. Believed
  to have knowledge regarding Plaintiff’s duties and hours.

  Jose Huntado. (786) 523-4104. 10805 SW 4 Street, Miami, FL 33174. Believed to have
  knowledge regarding Plaintiff’s duties and hours.

  Plutarco Ricardo Zapata. (786) 237-8040. 141 SW 113 Avenue, Apt. 103, Miami, FL 33174.
  Believed to have knowledge regarding Plaintiff’s duties and hours.

  Luis de Castro. (619) 452-9506. 2655 West 8 Ct., Hialeah, FL 33010. Believed to have
  knowledge regarding Plaintiff’s duties and hours.

  Plaintiff ARWIN NICOLAS ZAPATA CARRERO. c/o Plaintiff Counsel. Believed to have
  knowledge regarding the allegations in the most recent Complaint. Believed to also have
  knowledge regarding Plaintiff’s duties, pay, and hours, along with liability issues regarding the
  wage count.

  Those persons listed in Defendants’ initial disclosures filed or to be filed, and any other persons
  identified in Plaintiff’s or Defendants’ discovery or identified in other pleadings, motions, or
  depositions.


                                                        Respectfully submitted,

                                                        J. H. ZIDELL, P.A.
                                                        ATTORNEYS FOR PLAINTIFFS
                                                        300-71ST STREET, SUITE 605
                                                        MIAMI BEACH, FLORIDA 33141
                                                        305-865-6766
                                                        305-865-7167

                                                        By:_s/ Rivkah F. Jaff, Esq. ___
                                                           Rivkah F. Jaff, Esquire
                                                           Florida Bar No.: 107511

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                           CERTIFICATE OF SERVICE

   I HEREBY CERTIFY THAT A TRUE AND CORRECT COPY OF THE FOREGOING
          WAS PROVIDED VIA CM/ECF AND U.S. MAIL ON 12/19/18 TO:

                                 HANIN PRIETO
                                    PRO SE
                           11431 NW 107 ST., SUITE #13
                                 MIAMI, FL 33178

                     BY:__/s/____Rivkah F. Jaff_______________
                              RIVKAH F. JAFF, ESQ.




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